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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SHARON L. D’ANGELO,                          :       CIVIL ACTION
                                             :
               Plaintiff,                    :       NO. 09-1822
                                             :
       v.                                    :
                                             :
REDLINE RECOVERY SERVICES,                   :
LLC, et al.,                                 :
                                             :
               Defendants.                   :

                                            ORDER

       AND NOW, this 13th day of July, 2009, upon consideration of the Stipulation of

Dismissal (Doc. No. 7), representing that the parties have reached a settlement in the above-

captioned action, it is hereby ORDERED as follows:

       1.      The above-captioned action is DISMISSED with prejudice, pursuant to Local

               Rule 41.1(b).

       2.      Any pending motions are DENIED AS MOOT.

       3.      The Clerk shall close the case.



                                             BY THE COURT:


                                             s/ Joel H. Slomsky
                                             JOEL H. SLOMSKY, J.
